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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 JENNIFER JOSEPH,                               )
                                                )   Civil Action No.
      Plaintiff,                                )
                                                )
 v.                                             )
                                                )   JURY TRIAL DEMANDED
 ADECCO USA, INC. and LUXOTTICA                 )
 OF AMERICA, INC.,                              )
                                                )
   Defendants.
 _______________________________

                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Jennifer Joseph (“Plaintiff”), by and through

undersigned counsel, and files this Complaint pursuant to Title VII of the Civil

Rights Act of 1964, as amended (“Title VII”) against Defendants Adecco USA, Inc.

(“Defendant Adecco”) and Luxottica of America, Inc. (“Defendant Luxottica”)

(collectively “Defendants”) and shows the Court as follows:

                          JURISDICTION AND VENUE

                                           1.

        Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f).




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                                          2.

      The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§2000(e)-5(f), venue is appropriate in this Court.

                                     PARTIES

                                          3.

      Plaintiff is a citizen of the United States of America and is subject to the

jurisdiction of this Court.

                                          4.

      At all times relevant, Defendants have been engaged in business in the state

of Georgia and this district. Defendants are subject to specific jurisdiction in this

Court over the claims asserted herein.

                                          5.

      Defendant Adecco may be served with process by delivering a copy of the

summons and complaint to its registered agent, C T Corporation System, 289 Culver

St., Lawrenceville, Georgia 30046. Defendant Luxottica may be served with process

by delivering a copy of the summons and complaint to its registered agent, National

Registered Agents, Inc., 280 S. Culver St., Lawrenceville, Georgia 30046.




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                           FACTUAL ALLEGATIONS

                                           6.

      Plaintiff timely filed charges of discrimination against Defendants with the

Equal Employment Opportunity Commission (EEOC).

                                           7.

      Plaintiff requested the right to sue on her charges from the EEOC, which the

EEOC subsequently issued on March 10, 2021, entitling an action to be commenced

within ninety (90) days of receipt of that notice.

                                           8.

      This action has been commenced within ninety (90) days of receipt of the

“Notices of Right to Sue”.

                                           9.

      Defendants are now, and at all times relevant hereto, have been employers

subject to Title VII.

                                           10.

      Defendant Adecco is a staffing company. Defendant Adecco placed Plaintiff

with Defendant Luxottica, on or about the beginning of November 2020, to work as

a warehouse worker.




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                                            11.

      Prior to starting work at Luxottica, on or around late October 2020, Plaintiff

notified the Adecco recruiter, Tee, that she was pregnant.

                                            12.

      At that time, Plaintiff was five months pregnant and visibly pregnant.

                                            13.

      Due to her pregnancy, Plaintiff asked Tee, the Adecco representative at

Defendant Luxottica, to be placed in the packing department so that she could sit at

times throughout the day.

                                            14.

      Tee told Plaintiff that Luxottica would be able to accommodate her request.

                                            15.

      Despite Plaintiff’s conversation with Tee, she was placed in the picking

department when she began working at Luxottica. In addition to being visibly

pregnant, Plaintiff informed her manager at Luxottica, Cortez, that she was pregnant

within the first couple weeks on the job.

                                            16.

      On or around mid-December 2020, Plaintiff again approached Tee about

working in the packing department.


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                                             17.

        Tee told Plaintiff that she was trying to get Plaintiff switched into the packing

department.

                                             18.

        On or around late December 2020, Cortez asked Plaintiff why she was still in

the picking department despite being pregnant.

                                             19.

        Cortez then asked Tee why she had not switched Plaintiff to the packing

department yet.

                                             20.

        In response, Tee said that she had accidentally switched another employee to

the packing department and would try to get Plaintiff switched to that department as

well.

                                             21.

        On or around December 29, 2020, Plaintiff’s employment was terminated. No

reason was given for her termination.

                                             22.

        Any reason for Plaintiff’s termination is pretext for unlawful discrimination

based on Plainiff’s gender (pregnancy).


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                                          23.

      In terminating Plaintif because of her protected charactistic under Title VII,

Defendants violated Title VII and Plaintiff’s rights thereunder.

                                          24.

      As a result of Defendants’ unlawful actions, Plaintiff has suffered, inter alia,

pecuniary and non-pecuniary losses for which she is entitled to recover from

Defendants, including lost wages and emotional distress.

                                          25.

      Defendant Adecco had control and influence over the terms and conditions of

the employment for which Plaintiff was hired, including her rate of compensation,

and termination.

                                          26.

      Defendant Luxottica had control and influence over the terms and conditions

of the employment for which Plaintiff was hired, including supervision and other

human resources functions, and rate of compensation.

                                          27.

      Defendants jointly employed Plaintiff and are therefore jointly liable for

violating Title VII by the conduct described herein.




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                              CLAIM FOR RELIEF

    VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964,
                        AS AMENDED

                                           28.

      Plaintiff repeats and re-alleges 6-27 paragraphs as if set forth fully herein.

                                           29.

     Title VII of the Civil Rights Act of 1964 prohibits employment discrimination

on the basis of sex.

                                           30.

      When it adopted the Pregnancy Discrimination Act, Congress amended Title

VII to provide that discrimination on the basis of sex includes discrimination “on the

basis of pregnancy, childbirth, or related medical conditions.”

                                           31.

         At all times relevant, Plaintiff was a member of a protected class.

                                           32.

         Plaintiff was qualified to perform her position.

                                           33.

         Plaintiff was terminated because of her protected characteristic.




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                                             34.

             In terminating Plaintiff’s employment, Defendants discriminated against

Plaintiff, in violation of Title VII.

                                             35.

             As a result of Defendants’ unlawful actions, Plaintiff has suffered, among

other things, pecuniary and non-pecuniary losses for which she is entitled to recover

from Defendants. Among other things, Plaintiff has suffered lost wages and

emotional distress. Defendants’ unlawful actions were willful and done in reckless

disregard for Plaintiff’s protected rights. Plaintiff is entitled to an award of punitive

damages.

       WHEREFORE, Plaintiff requests judgment as follows:

       (a)            Special damages, back-pay, lost benefits and prejudgment

                      interest thereon;

       (b)            Compensatory damages;

       (c)            Punitive damages;

       (d)            All equitable relief available, such as reinstatement or front-pay

                      in lieu thereof,

       (e)            All relief available under Title VII;

       (f)            Reasonable attorney’s fees and expenses of litigation;


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     (g)         Trial by jury as to all issues so triable;

     (h)         Declaratory relief to the effect that Defendants have violated

                 Plaintiff's statutory rights;

     (i)         All other relief to which she may be entitled.

     This 22nd day of March, 2021.

                                      BARRETT & FARAHANY

                                      s/V. Severin Roberts
                                      V. Severin Roberts
                                      Georgia Bar No. 940504
                                      Attorney for Plaintiff

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